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13                        UNITED STATES DISTRICT COURT
14                      CENTRAL DISTRICT OF CALIFORNIA
15
16   Balmore Prudencio and Michelle Quintero, Case No. 2:18-cv-01469-AB-RAO
     individually on behalf of themselves and
17   all others similarly situated, and John Does Assigned to: Hon. Andre Birotte, Jr.
     (1-100) on behalf of themselves and all
18   others similarly situated,                   DEFENDANTS MIDWAY
                                                  IMPORTING, INC. AND GRISI USA,
19                 Plaintiffs,                    LLC’S REPLY IN SUPPORT OF
                                                  MOTION TO DISMISS SECOND
20          -against-                             AMENDED CLASS ACTION
                                                  COMPLAINT
21   Midway Importing, Inc. and Grisi USA,
     LLC                                          Date:       December 14, 2018
22                                                Time:       10:00 a.m.
                   Defendants.                    Ctrm::      7B
23
                                                 Complaint Filed: February 22, 2018
24
25
26
27
28

      DEFENDANTS MIDWAY IMPORTING, INC. AND GRISI USA, LLC’S REPLY IN SUPPORT OF MOTION TO
             DISMISS SECOND AMENDED CLASS ACTION COMPLAINT - 2:18-CV-01469-AB-RAO
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             1            Plaintiffs’ Opposition to Defendants Midway Importing, Inc. and Grisi, USA,
             2   LLC’s (“Defendants”) Motion to Dismiss the Second Amended Class Action Com-
             3   plaint (“SAC”) is unpersuasive and provides no basis for allowing Plaintiffs’ deficient
             4   claims to go forward. The SAC should be dismissed in its entirety.
             5                                          ARGUMENT
             6   I.       Plaintiffs’ Arguments Highlight That They Have Once Again Failed to Suf-
                          ficiently Allege That Defendants Are Liable Under Any Plausible Legal
             7            Theory.
             8            As the Court recognized in dismissing Plaintiffs’ First Amended Complaint, the
             9   critical deficiency with Plaintiffs’ claims is that they did not “in any way link [Mid-
            10   way] to the marketing and promotion of [the Products], let alone to the alleged “natu-
            11   ral” misrepresentation on their boxes.” Order at 3. Plaintiffs claim that they have
            12   cured this deficiency by adding “significant detail regarding the advertising and mar-
            13   keting operations of Defendants and their connection to the manufacturer of the Prod-
            14   ucts.” Opp’n at 2. Even if Plaintiffs have added details regarding the advertising and
            15   marketing operations of Defendants generally, this does not solve the problem with
            16   Plaintiffs’ claims because they do not, and cannot, allege that Midway and Grisi USA
            17   are responsible for the “natural soap” labeling of the four Grisi Mexico soap bars at
            18   issue in this case (the “Products”).
            19            Plaintiffs argue they adequately alleged Defendants “authorized” the labeling
            20   by pointing to the following: (1) the Midway website noting that Midway offers ser-
            21   vices like “distribution support strategy that includes marketing & promotions,” (2) a
            22   statement by an employee of Grisi Mexico that Midway markets soaps and beauty
            23   products in the United States, and (3) Oliver Pegueros listing his position on LinkedIn
            24   as “Business Manager at Grisi USA at Midway” and describing his role as “oversee-
            25   ing all marketing aspects of Grisi brands in the United States.” Opp’n at 2-3. These al-
            26   legations may support Plaintiffs’ argument that Midway may have some involvement
            27   in marketing Grisi Products in the United States, but they say nothing about whether
            28
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                      DEFENDANTS MIDWAY IMPORTING, INC. AND GRISI USA, LLC’S REPLY IN SUPPORT OF MOTION TO
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             1   Midway is involved in the labeling of any products, let alone the “natural soap” label-
             2   ing on the four Products at issue here, which is the sole focus in this case. Plaintiffs’
             3   allegations are more deficient as they relate to Grisi USA because Plaintiffs do not al-
             4   lege that Grisi USA is involved in the marketing of any of the Products in the United
             5   States.
             6           Plaintiffs’ other argument is that because Grisi Mexico owns 51% of Midway
             7   and Grisi USA is a subsidiary of Grisi Mexico, Midway and Grisi USA somehow “au-
             8   thorized” the “natural soap” label on the Products. But these allegations regarding par-
             9   tial ownership fail to establish Defendants are responsible for the labeling of the Prod-
            10   ucts. Plaintiffs appear to want to invoke some principle of secondary liability (e.g.,
            11   agency law or the alter-ego doctrine, etc.), but Plaintiffs have not, and cannot, present
            12   any authority that suggests that a company that is partially owned by another company
            13   is responsible for the actions of the other company. In any event, California law does
            14   not recognize secondary liability for the claims Plaintiffs assert. “[A] defendant’s lia-
            15   bility for unfair business practices must be based on his personal ‘participation in the
            16   unlawful practices’ and ‘unbridled control’ over the practices.” In re Hydroxycut
            17   Mktg. and Sales Practices Litig., 299 F.R.D. 648, 656 (2014) (citing Emery v. Vista
            18   Int’l Serv. Ass’n, 95 Cal. App. 4th 952, 960 (2002)); see also Tortilla Factory, LLC v.
            19   Better Booch, LLC, No. 2:18-cv-02980-CAS (SKx), 2018 WL 4378700, at *1 (C.D.
            20   Cal. Sept. 13, 2018).1
            21           In the SAC Plaintiffs did little more than add a defendant with a similar name to
            22   Grisi Mexico and add allegations that suggest that: (1) Midway may be involved in
            23   some aspect of marketing and advertising the Products; and (2) Defendants are related
            24
            25       1
                        According to Plaintiffs, the cases cited by Defendants are unavailing because the
                 allegations in those cases were based on information and belief, as opposed to Plain-
            26   tiffs’ allegations, which Plaintiffs claim are “well-supported by additional facts.” See
                 Opp’n at 2, n.1. Plaintiffs’ argument is misplaced. Even if Plaintiffs’ allegations are
            27   supported by additional facts, which as discussed above they are not, Plaintiffs have
                 failed to allege, let alone “support by additional facts,” that Defendants personally par-
            28   ticipated and had “unbridled control” over the labeling of the Products.
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             1   to Grisi Mexico. None of Plaintiffs’ allegations suggest that either defendant was in-
             2   volved in creating the “natural soap” label on the Products. For this reason alone,
             3   Plaintiffs’ claims should once again be dismissed. Order at 3-4.
             4             Additionally, Plaintiffs admit they have not distinguished Defendants, as re-
             5   quired by Rule 9(b). Opp’n at 3. Rather, Plaintiffs argue that they do not need to be-
             6   cause “the SAC alleges that Defendants share employees and ownership and work
             7   jointly in marketing and advertising the Products in the United States.” Id. Not only is
             8   this untrue (at best Plaintiffs allege a relationship to Grisi Mexico, not each other),
             9   but, again, this says nothing about each Defendants’ role in labeling the Products. To
            10   satisfy the applicable pleading requirements, Plaintiffs needed to provide a factual ba-
            11   sis to distinguish the conduct of Midway and Grisi USA as it relates to Plaintiffs’
            12   claims that the “natural soap” label was false and deceptive, which Plaintiffs fail to do.
            13   Swartz v. KPMG LLP, 476 F.3d 756, 764-65 (9th Cir. 2007).
            14   II.       Plaintiffs Have Still Not Adequately Pled Any of Their Causes of Action.
            15             A.    Plaintiffs’ Misrepresentation Claims Fail Because “Natural Soap” is
            16                   Not Plausibly Deceiving or Misleading.
            17             Plaintiffs do not dispute that their CLRA and UCL labeling claims are actiona-
            18   ble only if the Products’ packaging is likely to deceive a “reasonable” consumer.
            19   Plaintiffs also do not dispute that the Products’ ingredient list discloses – in all capital
            20   letters, in English and in Spanish – the allegedly synthetic ingredients about which
            21   they complain. Instead, they dispute that a reasonable consumer who “value[s] natural
            22   products for important reasons,” SAC ¶ 22, would disregard the rest of the Products’
            23   packaging, including the ingredient list, and instead assume, based solely on “natural
            24   soap,” that the Products contain exclusively natural ingredients. Plaintiffs’ position is
            25   simply implausible on its face.2 Plaintiffs cannot plausibly allege that they “value”
            26   natural products and blindly pay a price premium for them, but then fail to even turn
            27         2
                      Hill v. Roll Int’l Corp., 195 Cal. App. 4th 1295, 1304 (2011) (under the CLRA,
                 UCL, and FAL, a plaintiff must show “potential deception of consumers acting rea-
            28   sonably in the circumstances—not just any consumers”).
237480573                                                  3
                   DEFENDANTS MIDWAY IMPORTING, INC. AND GRISI USA, LLC’S REPLY IN SUPPORT OF MOTION TO
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             1   the packaging slightly to the side to review the ingredient list.
             2           Defendants do not contend, nor advocate for, this Court to find that any use of
             3   the word “natural” is, as a matter of law, not misleading. Instead, Defendants maintain
             4   that the use of “natural” on the labels of the Products in this case is not misleading be-
             5   cause Plaintiffs cannot plausibly allege they were deceived when the label is entirely
             6   consistent with ingredients of the Product, which was in close proximity to the repre-
             7   sentation they purport to rely.
             8           Plaintiffs seek to take advantage of favorable authority regarding the use of
             9   phrases like “100% natural” and “all natural.” See Opp’n at 18.3 These cases are inap-
            10   posite because, as Plaintiffs acknowledge, the allegedly deceptive label here does not
            11   claim that the soaps are “100% natural” or “all natural.” Id. The phrases are different,
            12   and they necessarily mean different things. While one suggests the presence of natural
            13   ingredients, the other implies the absence of synthetic ingredients.4
            14           Plaintiffs’ other authority is equally distinguishable. For example, in Brenner v.
            15   Proctor & Gamble Co.—in which the court recognized that “a court’s inquiry should
            16   be context-specific”—the ingredient list was not in close proximity to the allegedly
            17   deceptive phrase “natural clean,” as it is here. No. SACV 16-1093-JLS(JCG), 2016
            18   WL 8192946, at *6 (C.D. Cal. Oct. 20, 2016). Moreover, in Brenner, the court was
            19   not only focused on whether the product contained synthetic ingredients, but also,
            20   whether it was plausible that a reasonable consumer would believe such a product did
            21
            22       3
                       For example, in Jou v. Kimberly Clark Corp., the allegedly deceptive representa-
                 tion was “pure and natural,” which the court viewed as akin to “purely natural,” “all
            23   natural” or “100% natural.” No. C-13-03075 JSC, 2013 WL 6491158, at *7 (N.D. Cal.
                 Dec. 10, 2013). Similarly in Aguiar v. Merisant Co., the product’s packaging and la-
            24   beling, as well as statements on the website, used phrases such as “all natural” and
                 “only contains natural sweeteners.” No. 14-00670-RGK-AGRx, 2014 WL 6492220, at
            25   *2 (C.D. Cal. Mar. 14, 2014).
                     4
                       To be clear, Defendants are in no way conceding that there are any “synthetic in-
            26   gredients” in the Products. All of the ingredients that Plaintiffs allege are “synthetic,”
                 can be commercially derived from natural sources. See, e.g., Cara AM Bondi et al.,
            27   Human and Environmental Toxicity of Sodium Lauryl Sulfate (SLS): Evidence for Safe
                 Use in Household Cleaning Products, 9 ENVTL. HEALTH INSIGHTS, 27, 27-32 (2015),
            28   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4651417/.
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             1   not contain any potentially harmful chemicals. Id. at *5. As the court explained, Plain-
             2   tiffs’ references to an FTC enforcement action and FDA and French government
             3   safety advisories supported plaintiff’s assertion that purportedly synthetic ingredient
             4   was “potentially harmful.” Id. Plaintiffs do not allege that the purportedly synthetic in-
             5   gredients here are harmful, nor can they point to any such government actions or
             6   safety advisories. In Brown v. Hain Celestial Grp., Inc., plaintiffs alleged that defend-
             7   ant’s representation that the products were “organic” was false and deceptive because
             8   the products contained “insufficient organic content under the applicable laws to make
             9   such a claim.” 913 F. Supp. 2d 881, 885 (2012). Plaintiffs do not allege the Products
            10   are organic, nor do they allege that the “natural soap” label violated any laws.”5
            11           Plaintiffs also contend that Defendants’ argument is inappropriate for disposi-
            12   tion on a motion to dismiss. Opp’n at 18. Plaintiffs’ argument is misplaced. If the al-
            13   leged misrepresentation would not mislead a reasonable consumer, then the allegation
            14   may be dismissed on a motion to dismiss. Haskell v. Time, Inc., 857 F. Supp. 1392,
            15   1399 (E.D. Cal. 1994). Relying on this principal, courts have repeatedly dismissed
            16   false advertising claims at the pleading stage where a plaintiff’s allegations were simi-
            17   larly implausible. See, e.g., Gasser v. Kiss My Face LLC, No. 17-cv-01675-JSC, 2017
            18   WL 4773426 at *5 (N.D. Cal. Oct. 23, 2017) (dismissing claims based on statements
            19   “nourish naturally with our botanical blends” and “obsessively natural kids” because a
            20   reasonable consumer would not interpret them “to mean the product does not contain
            21   a single synthetic ingredient.”).
            22
                     5
                       This case is also distinguishable from the recently decided Brian Kutza v. Wil-
            23   liams-Sonoma, Inc., No. 18-cv-03534-RS, 2018 WL 5886611 (N.D. Cal. Nov. 9,
                 2018). In Kutza, defendants’ marketing materials for the over 60 products at issue in
            24   the case were “‘replete with statements’” that the products were natural and the mar-
                 keting materials included phrases such as “‘completely natural ingredients.’” Id. at *1.
            25   Plaintiffs also claimed that defendant “‘cultivates’” its image as “‘a natural, non-syn-
                 thetic, health and eco-friendly brand.’” Id. Although the court acknowledged that de-
            26   fendant “undoubtedly” had “strong arguments” that its marketing was not false or de-
                 ceptive, the court found that due to the “cumulative effects of the labeling and market-
            27   ing,” it could not find as a matter of law that the defendant’s advertising and market-
                 ing was deceptive. Id. at *4 (emphasis added). This is a very different scenario than
            28   the one “natural soap” representation at issue here.
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             1           B.    Plaintiffs Fail to Satisfy Rule 9’s Heightened Pleading Standard.
             2           Pursuant to Rule 9’s heightened pleading standard, Rule 9 requires that Plain-
             3   tiffs’ CLRA and UCL claims set forth something “more than the neutral facts neces-
             4   sary to identify the transaction.” Kearns v. Ford Motor Co., 567 F.3d 1120, 1124 (9th
             5   Cir. 2009). Plaintiffs must also “set forth what is false or misleading about a state-
             6   ment, and why it is false.” Ebeid ex rel. U.S. v. Lungwitz, 616 F.3d 993, 998 (9th Cir.
             7   2010) (quoting Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003)
             8   (internal quotation marks omitted). Despite Plaintiffs’ assertions to the contrary, the
             9   SAC sets forth nothing more than the “neutral facts” of the Plaintiffs’ purchases. See,
            10   e.g., SAC ¶¶ 8, 10. As explained in Defendants’ Motion, Plaintiffs fail to sufficiently
            11   allege how the phrase “natural soap” is false and misleading because they do not as-
            12   sert a basis for their contention that the products are not, in fact, natural. Mot. at 8.
            13   Notably, Plaintiffs do not dispute that the Products contain mostly natural ingredients,
            14   nor do they allege that the Products’ packaging states that the Products contain “all” or
            15   “only” natural ingredients. Without these allegations, Plaintiffs do not satisfy the
            16   heightened standard of Rule 9 and their claims should be dismissed.
            17           C.    Plaintiffs Fail to State Claims for Breach of Express Warranty.
            18           In opposing Defendants’ argument, Plaintiffs cite cases concerning “all natural”
            19   representations in support of their assertion that the phrase “natural soap” constitutes
            20   an “affirmation of fact” under California law. Opp’n at 21. Here, not only do Defend-
            21   ants never make such a claim, but the Product labels clearly disclose all of the ingredi-
            22   ents in the soap, including the ingredients that Plaintiffs allege are “synthetic.”6 As
            23   noted in the Motion, those disclosures bar Plaintiffs’ express warranty claim. Mot. at
            24
                     6
                        Plaintiffs do not cite Brenner to support their argument that they sufficiently al-
            25   leged a breach of express warranty claim, but the court in Brenner did find that plain-
                 tiff’s allegation that the product was “natural” was sufficient to plead a breach of ex-
            26   press warranty claim. 2016 WL 8192946, at *6. As discussed above, the clear disclo-
                 sure of all the ingredients of the soap and the close proximity of that ingredient list to
            27   the allegedly deceptive “natural soap” representation at issue here makes this case dis-
                 tinguishable from Brenner, and is the reason Plaintiffs fail to state a breach of express
            28   warranty claim. See Mot. at 13-14.
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             1   13-147; see also Gasser, 2017 WL 4773426 at *7.
             2
                          D.    Plaintiffs’ Claim for Breach of Implied Warranty Fails.
             3
                          Plaintiffs claim that the phrase “natural soap” constitutes a “promise or affirma-
             4
                 tion of fact” that the Products do not conform to. Opp’n at 22. However, as Defend-
             5
                 ants have already established, “natural soap” does not qualify as either a promise or
             6
                 affirmation of fact. See Mot. at 13-14. Thus, they have not stated a claim for breach of
             7
                 implied warranty of merchantability under California law.
             8
                          Plaintiffs also seek to avoid California’s well-established privity requirement by
             9
                 invoking the third-party beneficiary exception. Opp’n at 22-23. However, this excep-
            10
                 tion is inapplicable, whereas here, Plaintiffs fail to plausibly allege they are beneficiar-
            11
                 ies to a contract that gives rise to an implied warranty. Cf. In re Toyota Unintended
            12
                 Acceleration Mktg., Sales Practices, and Prod. Liab. Litig., 754 F. Supp. 2d 1145,
            13
                 1184-85 (C.D. Cal. 2010) (finding third-party beneficiary exception adequately
            14
                 pleaded where plaintiffs alleged they purchased vehicles from a network of dealers
            15
                 who were agents of defendants and were intended consumers under the warranty
            16
                 agreements which they, not the dealers, had rights under). Moreover, Plaintiffs assert
            17
                 no plausible basis for the application of this exception here, where Defendants are nei-
            18
                 ther the manufacturer nor retailer of the Products. As a result, this exception is inappli-
            19
                 cable.
            20
                          Finally, as discussed in the Motion, to state a claim for breach of implied war-
            21
                 ranty, Plaintiffs must allege that the products were not fit for ordinary use, i.e., as
            22
            23       7
                       Plaintiffs’ argument that McKinniss v. Gen. Mills, Inc., No. 07-cv-2521 GAF
                 (FMOx), 2007 WL 4762172, at *5 (C.D. Cal. Sept. 18, 2007) has been distinguished
            24   and limited by subsequent decisions in this Circuit is irrelevant because the cases
                 Plaintiffs claim distinguish and limit McKinniss are inapplicable. Madenlian v. Flax
            25   USA Inc., SACV 13-01748 JVS (JPRx), 2014 WL 7723578 (C.D. Cal. Mar. 31, 2014)
                 and Lam v. Gen. Mills, Inc., 859 F. Supp. 2d 1097 (N.D. Cal. 2012), unlike here, in-
            26   volve an allegedly deceptive label that was not consistent with the product’s ingredi-
                 ents. In Brown, the court distinguished McKiniss because McKinnis did not involve an
            27   organic label. 913 F. Supp. 2d 881, 885 (2012). Here too, Plaintiffs’ claims have
                 nothing to do with an organic label, and so, the distinction discussed by the Brown
            28   Court is irrelevant to Plaintiffs’ “natural” claims.
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             1   soap. Mot. at 16. Because no such allegations are made, Plaintiffs’ breach of implied
             2   warranty claim must be dismissed. Viggiano v. Hansen Nat. Corp., 944 F. Supp. 2d
             3   877, 895-96 (C.D. Cal. 2013).
             4         E.     Plaintiffs’ MMWA Claim Fails Because the Act Does Not Apply.
             5         Contrary to Plaintiffs’ assertions, their MMWA claim necessarily fails. The
             6   Products, which Plaintiffs claim are misbranded as “natural,” do not constitute war-
             7   ranties under the Act. As noted in the Motion, courts in this Circuit have consistently
             8   held that “natural” labels are “mere product descriptions” that do not constitute a writ-
             9   ten warranty as defined by the Act. Mot. at 15. Plaintiffs also have not adequately
            10   pleaded their express and implied warranty claims under state law and thus cannot
            11   rely on those for purposes of stating their MMWA claims. See supra Sect. II. C and D.
            12         F.     Plaintiffs’ Claim for Violation of State Consumer Protection Statutes
            13                Should Be Dismissed.

            14         Plaintiffs maintain that they have pleaded, with particularity, their claims for vi-
            15   olations of the state consumer protection statutes of all states. Aside from the fact that
            16   this Court lacks jurisdiction over claims by out-of-state putative class members related
            17   to out-of-state transactions and Plaintiffs lack standing to bring non-California claims
            18   (see infra Sect. III. A and B), Plaintiffs’ allegations are insufficient under the pleading
            19   standards of both Rule 8 and Rule 9. General allegations of violations of various con-
            20   sumer protection laws, like those in the SAC, fail to state a claim for relief. Again,
            21   Plaintiffs do not incorporate the laws of other states into the SAC, nor have they tied
            22   Defendants’ to conduct that would violate each of these statutes. Mot. at 13. Moreo-
            23   ver, such allegations fail to meet the heightened pleading standard of Rule 9. As set
            24   forth here and in the Motion, Plaintiffs fail to sufficiently allege how the phrase “natu-
            25   ral soap” is false and misleading because they do not assert a basis for their contention
            26   that the Products are not, in fact, natural. Mot. at 8.
            27
            28
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             1   III.       Claims by Non-California Purchasers and Claims Based on Other States’
                            Laws Should be Dismissed.
             2
                            A.    The Court Lacks Jurisdiction over Non-California Purchasers’
             3                    Claims.
             4              Plaintiffs do not dispute that there is no general jurisdiction over Defendants,
             5   both Texas companies, in California, but assert that there is specific jurisdiction over
             6   non-California purchasers because the Supreme Court in Bristol-Myers Squibb Co. v.
             7   Sup. Ct. of Cal., 137 S. Ct. 1773 (2017), did not affirmatively address personal juris-
             8   diction in the context of federal courts. See Opp’n at 4-9. As discussed in the Motion,
             9   as to putative class members that purchased products outside of California, not only is
            10   that wrong, but the majority of federal district courts agree that the Supreme Court’s
            11   holding in Bristol-Myers Squibb applies equally to jurisdiction in federal court. Mot.
            12   at 18.
            13              Plaintiffs also argue that the holding in Bristol-Myers Squibb should not apply
            14   to class actions because (1) non-named plaintiffs are not real parties in interest for ju-
            15   risdictional purposes; and (2) class actions are “subject to additional due process safe-
            16   guards” which mass torts are not. These arguments also lack merit. As an initial mat-
            17   ter, whether a plaintiff is a named plaintiff or an absent class member has nothing
            18   whatsoever to do with whether a court has personal jurisdiction over the defendant in
            19   the action. Walden v. Fiore, 571 U.S. 277, 284 (2014) (“[d]ue process limits” “princi-
            20   pally protect the liberty of the nonresident defendant—not the convenience of plain-
            21   tiffs or third parties.”).8 Second, Plaintiffs’ suggestion that the standards for personal
            22   jurisdiction should be relaxed because class actions are subject to Federal Rule of
            23          8
                       See also, In re Dental Supplies Antitrust Litig., No. 16 Civ. 696 (BMC)(GRB),
            24   2017 WL 4217115, at *9 (E.D.N.Y. Sept. 20, 2017) (rejecting plaintiffs’ argument
                 that BMS does not apply in class actions and explaining that “[t]he constitutional re-
            25   quirements of due process does [sic] not wax and wane when the complaint is individ-
            26   ual or on behalf of a class. Personal jurisdiction in class actions must comport with
                 due process just the same as any other case.”); In re Samsung Galaxy Smartphone
            27   Mktg. and Sales Practices Litig., No. 16-cv-06391-BLF, 2018 WL 1576457, at *2
                 (N.D. Cal. Mar. 30, 2018) (determining that a plaintiff in a putative class action “must
            28   satisfy the standards set forth in Bristol-Myers”).
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             1   Civil Procedure 23 directly conflicts with the Rules Enabling Act, which makes clear
             2   that Rule 23 “shall not abridge, enlarge or modify any substantive right.” 28 U.S.C.
             3   § 2072(b); see also Fed. R. Civ. P. 82 (noting that the FRCP “do not extend . . . the ju-
             4   risdiction of the district courts”); Amchem Prods., Inc., v. Windsor, 521 U.S. 591, 612-
             5   13 (1997) (“We therefore follow the path taken by the Court of Appeals, mindful that
             6   Rule 23’s requirements must be interpreted in keeping with Article III constraints, and
             7   with the Rules Enabling Act, which instructs that rules of procedure ‘“shall not
             8   abridge, enlarge or modify any substantive right[.]”’).
             9         Finally, while Plaintiffs rely heavily on the court’s analysis of Bristol-Myers
            10   Squibb in In re Chinese-Manufactured Drywall Prods. Liab. Litig., MDL No. 09-
            11   2047, 2017 WL 5971622 (E.D. La. Nov. 30, 2017), the court in that case pointed out
            12   that Bristol-Myers Squibb concerned a situation that was not present in Chinese Dry-
            13   wall – namely, that the plaintiffs in Bristol-Myers Squibb had engaged in blatant fo-
            14   rum shopping, which “[t]he Supreme Court rightly halted.” Id. at *16. So too here.
            15   Plaintiff Rivera (who has since been voluntarily dismissed from this case) initially
            16   brought his claims in New York, where he resides and where he purchased the product
            17   at issue. He later voluntarily dismissed those claims when the New York district court
            18   informed him that he was unlikely to receive an opportunity to amend after the court’s
            19   decision on Midway’s motion to dismiss and refiled in California along with two Cali-
            20   fornia plaintiffs. See Mot. at 10, n.1. Plaintiffs’ blatant forum shopping warrants dis-
            21   missal of non-California claims under Chinese Drywall.
            22         B.     Plaintiffs Lack Standing to Bring Non-California Claims.
            23         Although Plaintiffs argue that they “are not seeking to apply the laws of other
            24   states [where they do not reside] to their individual claims,” Opp’n at 10, that is pre-
            25   cisely what Plaintiffs are trying to do. SAC ¶¶ 78-86, 96-101. However, this Court
            26   has squarely addressed this issue in Harris v. CVS Pharmacy Inc., No. ED CV 13–
            27   02329–AB(AGRx), 2015 WL 4694047, at *4-5 (C.D. Cal. Aug. 6, 2015), and deter-
            28   mined that named plaintiffs do not have standing to assert claims under the laws of
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             1   states where they do not reside or did not purchase the products at issue.
             2           As discussed in the moving brief, see Mot. at 19-20, Harris concerned a single
             3   named plaintiff who resided in and purchased products from CVS in California. Har-
             4   ris, 2015 WL 4694047, at *4. The Harris plaintiff brought separate causes of action
             5   under both California and Rhode Island consumer protection statutes. Harris, 2015
             6   WL 4694047, at *4-5. Finding the named plaintiff lacked standing to bring a claim
             7   under the law of a state (Rhode Island) in which he did not reside and from which he
             8   did not purchase the products at issue, this Court dismissed the plaintiff’s Rhode Is-
             9   land consumer protection claim. Harris, 2015 WL 4694047, at *5, 8.
            10           Plaintiffs attempt to do exactly the same thing here. While each of the named
            11   plaintiffs allegedly purchased the Products and reside in California, Plaintiffs never-
            12   theless bring causes of action for breach of express warranty and violation of con-
            13   sumer protection statutes under each of the other 48 states and the District of Colum-
            14   bia. SAC ¶¶ 78-86, 96-101. Plaintiffs have pleaded no basis whatsoever to bring
            15   claims under the laws of states where they do not reside and did not purchase the
            16   Products, i.e., any state other than California. Thus, pursuant to this Court’s decision
            17   in Harris, Plaintiffs’ foreign state law claims (Counts Six and Eight) must be dis-
            18   missed. Numerous other courts are in accord.9
            19           Plaintiffs also argue that their right to sue under the laws of foreign states is one
            20   best left for class certification. This Court addressed, and rejected, the very same argu-
            21   ment in Harris. 2015 WL 4694047, at *5-6. Whether Plaintiffs have standing to sue
            22   under the laws of states in which they do not reside and did not purchase the products
            23   at issue “goes to the heart of the Court’s subject-matter jurisdiction and should be de-
            24   cided as soon as possible.” Id. at *5; see also Pardini v. Unilever United States, Inc.,
            25   961 F. Supp. 2d 1048, 1061 (N.D. Cal. 2013) (“Thus, Plaintiff does not have standing
            26
                     9
                      See, e.g., In re Aftermarket Automotive Lighting Prods. Litig., No. 09 MDL
            27   2007-GW(PJWx), 2009 WL 9502003, *6 (C.D. Cal. July 6, 2009) (“Courts routinely
                 dismiss claims where no plaintiff is alleged to reside in a state whose laws the class
            28   seeks to enforce.”).
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             1   to assert a claim under the consumer protection laws of the other states named in the
             2   Complaint. This is a pleading defect amenable to determination prior to a motion for
             3   class certification.”).
             4   IV.        Plaintiffs Lack Standing to Seek Prospective Injunctive Relief.
             5              Plaintiffs argue that they have standing to seek injunctive relief pursuant to the

             6   Ninth Circuit’s decision in Davidson v. Kimberly-Clark Corp., 873 F.3d 1103 (9th

             7   Cir. 2017), amended and superseded, 889 F.3d 956 (9th Cir. 2018). Plaintiffs’ case is

             8   not Davidson. Davidson alleged, absent an injunction, she “[would be] unable to de-

             9   termine, based on the packaging, whether the wipes [were] truly flushable” as stated

            10   on the label. Id. at 962 (emphasis added). Plaintiffs’ situation is different. Plaintiffs al-

            11   lege that they “would purchase the Products again if the ingredients were changed so

            12   that they indeed were ‘Natural.’” SAC ¶¶ 55, 57. Unlike in Davidson, Plaintiffs do not

            13   need an injunction to help them make this determination. Rather, they can simply re-

            14   view the ingredient list in English or Spanish on either side of the Grisi Soap Prod-

            15   ucts’ packaging.10

            16              Critical to Davidson was the plaintiff’s very specific factual allegations that she

            17   “regularly” visited stores selling defendant’s products and was “continually” exposed

            18   to the representations on the products’ packaging. See Davidson, 889 F.3d 956, 970-

            19   71 (acknowledging that the decision was a “close question”). Plaintiffs make no such

            20   allegations here. See Rugg v. Johnson & Johnson, No. 17-CV-05010-BLF, 2018 WL

            21   3023493, at *7 (N.D. Cal. Jan. 18, 2018) (dismissing injunctive relief claim where

            22   plaintiff failed to allege facts similar to those set forth in Davidson).

            23              Further, unless and until the Products are reformulated to remove the ingredi-

            24   ents about which Plaintiffs complain, which is merely hypothetical, Plaintiffs cannot

            25   plausibly allege that they face an “imminent or actual threat” of future harm. In other

            26         10
                       Plaintiffs’ argument that a reasonable consumer is not required to review the in-
                 gredient list, even if true (and it is not), is illogical and irrelevant. Plaintiffs allege they
            27   would purchase the Products again only “if the ingredients were changed.” The only
                 way Plaintiffs will know that the ingredients have changed is by reading the ingredient
            28   list.
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             1   words, Plaintiffs’ allegations amount to nothing more than a declaration of intent to
             2   purchase a product not currently in existence. Such allegations are simply insufficient
             3   to establish standing for injunctive relief. Lanovaz v. Twinings N. Am., Inc., 726 Fed.
             4   Appx. 590, 591 (9th Cir. 2018) (“A ‘some day’ intention[]—without any description
             5   of concrete plans, or indeed even any specification of when the some day will be—
             6   do[es] not support a finding of the ‘actual or imminent’ injury that Article III re-
             7   quires.”).
             8         A.     Plaintiffs Lack Standing as to Products Not Purchased.
             9         Plaintiffs argue that they have standing to pursue claims regarding the “Don-
            10   key’s Milk” and “Oat” soaps they did not purchase because the “natural soap” state-
            11   ments on each of the Products are identical. But courts have repeatedly held that such
            12   an allegation, standing alone, is insufficient to confer standing as to products not pur-
            13   chased. Rather, Plaintiffs must plead facts sufficient to show that the products them-
            14   selves are “substantially similar.” Miller v. Ghirardelli Chocolate Co., 912 F. Supp.
            15   2d 861, 870 (N.D. Cal. 2012) (“Where the alleged misrepresentation or accused prod-
            16   ucts are dissimilar, courts tend to dismiss claims to the extent they are based on prod-
            17   ucts not purchased.”) (emphasis added). The plaintiff in Smedt v. The Hain Celestial
            18   Grp., Inc. “allege[d] that the products ‘ma[d]e the exact same representations, vio-
            19   late[d] the exact same regulations in the same manner, and [we]re essentially the exact
            20   same products, except for flavor’ as those products she did purchase.” No. 12-cv-
            21   03029-EJD, 2014 WL 2466881, at *7 (N.D. Cal. May 30, 2014). Nevertheless, the
            22   court could not “determine from the pleadings whether the named products [were], in
            23   fact, substantially similar to the purchased products . . . especially considering the
            24   heightened pleading standard of Rule 9(b) . . . .” Id. Thus, the court held that the
            25   plaintiff lacked standing to bring claims as to unpurchased products because she had
            26   “not alleged the similarity of the products with sufficient particularity.” Id. The same
            27   result is warranted here. Plaintiffs have done nothing more than baldly allege that the
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             1   Products are similar because they are soap. Further, as discussed in detail in Defend-
             2   ants’ Motion, Plaintiffs cannot allege “substantial similarity” because the Products
             3   are not similar. See Mot. at 22-23.
             4             Plaintiffs’ cited cases are inapposite. Those cases concerned the limited situa-
             5   tion where the products’ differences were unrelated to the plaintiffs’ specific false ad-
             6   vertising claims.11 But in cases where the success of the plaintiff’s claims hinge on the
             7   specific formulation of each of the products, courts have repeatedly held that plaintiffs
             8   lack standing to proceed as to dissimilar products they did not purchase. That was pre-
             9   cisely the case in Miller v. Ghirardelli Chocolate Co., where the plaintiff’s allegations
            10   that the products did not contain the required percentage of “white chocolate” hinged
            11   on each product’s specific composition, 912 F. Supp. 2d at 869-71, and in Dysthe v.
            12   Basic Research LLC, where the plaintiff’s allegation that the products were ineffective
            13   hinged on each product’s composition of active ingredients. No. CV 09- 8013
            14   AG(SSx), 2011 WL 5868307, a *4-5 (C.D. Cal. June 13, 2011). So too here. Plaintiffs
            15   lack standing as to the Donkey’s Milk and Oat products they did not purchase.
            16   V.        Plaintiffs’ Claims Should be Stayed Because FDA Guidance Regarding
            17             “Natural” Food Labeling Will Inform “Natural” Cosmetic Products.

            18             This case turns entirely on the “natural” labeling of the Products and whether
            19   such labeling is misleading. Regardless of whether this case involves food products or
            20   cosmetic products, those “natural” labeling issues remain the same. Plaintiffs cannot
            21   escape the fact that defining what “natural” is for purposes of all labeling is an area
            22   within the FDA’s expertise and remains a question not yet addressed by the agency.
            23   Accordingly, any guidance by the FDA on such issues will be instructive, and the case
            24
                      11
                        See, e.g., Hunter v. Nature’s Way Prods., LLC, No. 16cv532-WQH-BLM, 2016
            25   WL 4262188, at *14 (S.D. Cal. Aug. 12, 2016) (in action regarding healthfulness
                 claims, each product had the same composition of fat per serving); Dorfman v. Nu-
            26   tramax Labs., Inc., No. 13cv0873 WQH (RBB), 2013 WL 5353043, at *7 (S.D. Cal.
                 Sept. 23, 2013) (in action regarding joint-health claims, each product had same active
            27   joint-health ingredients); Swearingen v. Late July Snacks, LLC, No. 13-cv-04324-
                 EMC, 2017 WL 4641896, at *5-6 (N.D. Cal. Oct. 16, 2017) (in action regarding
            28   “evaporated cane juice” representations, products differed only in flavor).
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             1   should be stayed pursuant to the primary jurisdiction doctrine.
             2   VI.   Plaintiffs Should Not Be Provided With Leave to Amend.
             3         Despite having four opportunities to plead viable class action claims premised
             4   upon the labels of the Products, Plaintiffs’ allegations continue to be fatally deficient.
             5   Even Plaintiffs themselves appear to acknowledge the futility of further amendment as
             6   they do not even seek leave of this Court to do so. Because of Plaintiffs’ prior failed
             7   attempts to amend, their claims should be dismissed with prejudice. Saul v. United
             8   States, 928 F.2d 829, 843 (1991) (a court should deny leave to amend “where the
             9   amendment would be futile . . . or where the amended complaint would be subject to
            10   dismissal”); Salameh v. Tarsadia Hotel, 726 F.3d 1124, 1133 (9th Cir. 2013) (“A dis-
            11   trict court’s discretion to deny leave to amend is particularly broad where the plaintiff
            12   has previously amended.”) (internal quotations and citations omitted).
            13                                       CONCLUSION
            14         For the foregoing reasons, Plaintiffs’ SAC should be dismissed with prejudice.
            15    DATED: November 30, 2018                SIDLEY AUSTIN LLP
            16
            17                                            By:/s/ Rachel A. Straus
            18                                              Rachel A. Straus
                                                            Attorneys for Defendants
            19                                              MIDWAY IMPORTING, INC. and
            20                                              GRISI USA, LLC
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